    Case 4:18-cv-03368 Document 41 Filed on 10/23/19 in TXSD Page 1 of 1




                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION



UNITED STATES OF AMERICA, et al. §
                                 §
versus                           §                     Case Number: 4:18−cv−03368
                                 §
City of Houston, Texas           §

                           Notice of Reassignment

       Pursuant to Special Order No. 2019−4, this case is reassigned to the docket of
United States District Judge Charles Eskridge. Deadlines in scheduling orders remain
in effect, and all court settings are vacated.


Date: October 23, 2019
                                                              David J. Bradley, Clerk
